                                                                                               EXHIBIT
                                                                                              City's Ex. 7

                              IN THE UNITED STATES DISTRICT COURT

                        FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                           WESTERN DIVISION
                                        Case No. 5:22-CY -00068-80




YOLANDA IRVING, et al.,                                 )

                               Plaintiffs'              ]                ,ECLARATT.N oF
                                                        J               nETECTIVE R.J. PIKE
                                                        {)                 r28 u.s.c. s 1746)
THE CITY OF RALEIGH, et al.,                            )
                                                        )
                                  Defendants.



        Detective R.J. Pike, under penalty of perjury, declares and states as follows:


         1.      I am a Detective and Digital Forensic Examiner with the City of Raleigh's Police

Department ("RPD"). I am over eighteen ( 1 8) years of age. The information contained in this declaration

is based on my personal knowledge.

        2.       As part of my daily responsibilities as a digital forensic examiner and detective with the

Raleigh Police Department Digital Forensics Lab, I am responsible for identifying, preserving, and

analyzing digital evidence in the context of criminal investigations or legal proceedings. This may include

recovering deleted or hidden files, analyzing network traffic and system logs, and reconstructing events

on a computer or other digital device. I am also required to write detailed reports of their findings. I may

be required to testify in court as an expert witness in criminal cases involving homicides, child

exploitation, and sexual assaults. Additionally, I must keep abreast of advancements in digital forensic

techniques, software, and technologies to stay updated and apply them in my investigations.

        3.       I have been qualified as an expert witness in digital forensics in both State and Federal

courts. I have testified as an experl in several criminal cases in the U.S. District Court for the Eastern

District of North Carolina.




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           4.    Electronic information is often an issue in critical incidents, so my schedule is

unpredictable. I am often asked to help other smaller police departments with an urgent need for digital

information close in time to a serious crime, such as a homicide.

           5.    I am involved in digital forensic examination of serious crimes in which electronically

stored information is key evidence to establishing the crime. The types of cases in which I am often

involved include homicides, sex offenses committed against children, and serious assaults.

           6.    My work is also time sensitive, such as when a detective requires information to obtain a

search or arrest warrant, a prosecuting attorney needs evidence for a prosecution, or a Court schedules a

hearing or trial that involves digital forensic evidence.

           7.    During a digital forensic exam where deep analysis is requested, the requesting party is

asked to provide search criteria for the information the requesting party seeks from the digital device

under review. Standard search criteria include a date range and specific words, items, or phrases sought.

The broader the search parameters, the more data the search will produce, but this data may or may not be

relevant to the underlying request. The search parameters return data. An individual must examine all of

the data returned by the search to determine whether it is relevant to the inquiry. Searches often return

data that is outside the inquiry. For example, a search using the term "arrest" will return records wherever

that term is used to the best ofthe software's ability to search and not the particular arrest at issue in the

inquiry.

           8.    Certain data types, such as photographs and video, are more difficult to search as a word

search may not disclose a photograph. Ifphotographs or videos are sought, specific dates are often

needed, and a time-consuming search of all images acquired during a specific date or range of dates is

required.

           9.    Usually, effective search requests are explicit and concise and provide background for the

inquiry of the requesting party. Providing piecemeal requests or overly broad search terms can become

cumbersome and extremely time-consuming. This method of providing information detracts from daily

duties, which delays critical criminal investigations.




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         10.           I have been assisting with the cellphone extraction of the City-issued cellphone

previously used by Omar Abdullah. I am aware that the extraction of this phone using Cellebrite software

was conducted in 2020 as a part of an RPD Internal Affairs investigation. I was tasked with assisting the

City Attorney's Office in responding to requests for information from this phone. Using updated

Cellebrite software, I obtained a physical extraction of this phone on December 1 , 2022.

         II   .      A cellphone extraction creates a substantial amount of data. A report of the extraction of

Mr. Abdullah's City-issued cellphone printed in .pdf format consists of more than 45,000 pages or 30

gigabytes ofdata.

         12.         I was asked to conduct an examination of the cellphone looking for emails using specific

search terms listed below:

                  a. Search of COR emails on the device from 16-AUG-18 through 13-JUN-20
                          i, "Aspirin"
                          ii, "Dennis Williams"
                  b. Search of COR emails on the device from 13-MAY-20 through 13-JUN-20
                          i. "Burgundy."
         13.         I completed this work on Friday, December 16,2022, and provided the results to counsel

on that date.

         14.         I have been asked to examine the cellphone looking for text messages using the same

search terms listed in paragraph 72 above, with the addition of searching for the phrase ooCI Dennis"

during the 16-AUG-18 through l3-JUN-20 search. That work is pending. I am working diligently on all

the matters assigned to me, including this matter.

        15.          I am aware that counsel for the City has provided a preliminary report from the Cellebrite

extraction I conducted on December 1,2022. I understand that she conducted the search using the search

function in the Cellebrite software and then applied a tag as "Evidence." Counsel then provided a report




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containing items so tagged, In my opinion, this is a reasonable search rnethod to use to provide cellphone

evidence.

        16.     An exhaustive search of a cellphone extraction can take substantial time and computing

power, depending on the search terms provided and the data returned. Failure to provide well-considered

search terms and multiple requests for slightly different terms is disruptive to the work of any digital

forensic examiner and causes delay and disruption. Delay and disruption are especially problematic for

my work because of the number of assignments and their critical nature.


        I declare under penalty ofperjury that the foregoing is true and correct.




                This the 12't'day of lanuary,2023.




                                                                 ive/Digital Forensic Examiner
                                                           Raleigh Police Department




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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                                No. 5:22-cv-00068-BO

 YOLANDA IRVING, et al.,                      )
                                              )
                            Plaintiffs,       )
                                              )
     v.                                       )          CERTIFICATE OF SERVICE
                                              )
 THE CITY OF RALEIGH, et al.                  )
                                              )
                            Defendants.       )

          I hereby certify that on January 16, 2023, I electronically filed the foregoing

DECLARATION OF DETECTIVE R.J. PIKE with the Clerk of Court using the CM/ECF

system, which sends notification of such filing to all counsel of record as follows:

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